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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND
                                Greenbelt Division

 Kilmar Armando Abrego Garcia, et.                  Case No.: 8:25-CV-00951-PX
 al.,

                       Plaintiffs,

                v.

 Kristi Noem,
 Secretary of Homeland Security, et al.,

                       Defendants.


        DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE

       This Court granted expedited discovery limited to “what . . . Defendants have done to

‘facilitate Abrego Garcia’s release from custody in El Salvador,’” including evidence about “the

current physical location and custodial status of Abrego Garcia; (2) what steps, if any, Defendants

have taken to facilitate Abrego Garcia’s immediate return to the United States; and (3) what

additional steps Defendants will take, and when, to facilitate his return.” ECF No. 79 at 6-7. The

government has cooperated in good faith with Plaintiffs’ expedited discovery requests. It has

responded to requests for the production of documents, answered interrogatories, and prepared

four individuals for their depositions. The government has expended significant time, energy, and

resources—coordinating across multiple agencies, reviewing and producing documents, preparing

witnesses, and assessing complex privilege issues—all within the compressed timeframe set by

the Court. Plaintiffs’ request for three Rule 30(b)(6) witnesses is unreasonable and goes well

beyond the limited discovery the Court granted.
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       Plaintiffs attempt to impermissibly expand the Court’s grant of limited expedited discovery

to address questions the Court identified regarding Defendants’ compliance with the Court’s

orders. Plaintiffs’ latest request is for three plenary 30(b)(6) depositions on topics that duplicate

their written discovery requests. Defendants have answered Plaintiffs’ discovery requests,

including providing responses to interrogatories, reviewing thousands of documents for possible

production, scheduling four depositions and completing three, and providing a detailed privilege

log, and the parties are engaged in good faith discussions to address Plaintiffs’ questions about

Defendants’ document production. Preparing even a single witness for a Rule 30(b)(6) deposition

is the work of weeks or months; Plaintiffs’ insistence that Defendants prepare three such

witnesses—including from the U.S. Department of Justice, which plays only the role of a legal

advisor and advocate—is as unworkable on an expedited timeline as it is inappropriate.

       As explained below, Plaintiffs’ motion should be denied for several independent reasons.

First, Plaintiffs’ request for three Rule 30(b)(6) depositions is unreasonable. Preparing three Rule

30(b)(6) witnesses—each from a different Cabinet-level agency and expected to testify

comprehensively on wide-ranging topics—is unreasonable under the expedited schedule set by the

Court and unjustified given the scope of discovery. Second, Plaintiffs’ claimed need for additional

depositions arises not from any fault of the prior deponents, but from Plaintiffs’ own failure to

conduct focused and efficient examinations. Third, Plaintiffs made no effort to meet and confer

with Defendants’ regarding their extraordinary request for three Rule 30(b)(6) depositions before

filing their motion. Plaintiffs ignored both the mandatory conferencing and certificate

requirements set forth in the Local Rules and exceeded the Court’s allowance of a request for leave

to depose two additional individuals. Plaintiffs’ motion is also premature because they have not




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yet completed the four depositions that the Court has allowed. For all these reasons, the Court

should deny the motion.

                                         BACKGROUND

       In its April 15, 2025, order, this Court granted Plaintiffs’ request for expedited discovery

limited to “what Defendants have done to ‘facilitate Abrego Garcia’s release from custody in El

Salvador and to ensure that his case is handled as it would have been had he not been improperly

sent to El Salvador.” ECF No. 79 at 7. As part of that order, the Court permitted Plaintiffs to notice

the depositions of Robert L. Cerna, Evan C. Katz, Michael G. Kozak, and Joseph N. Mazzara and

to move for leave, at a later date, to depose two additional individuals. Id. at 7. After the one-week

stay of discovery expired, the Court extended Plaintiffs’ deadline to move for leave to conduct

those two additional depositions to May 7, 2025, and directed Defendants to respond by May 8,

2025. ECF No. 107 at 2. On May 7, Plaintiffs moved for leave to conduct not two Rule 30(b)(1)

depositions but three Rule 30(b)(6) depositions, examining “an officer, director, agent, or other

representative from” the U.S. Department of Homeland Security, U.S. Department of State, and

U.S. Department of Justice. Plaintiffs have taken the depositions of Messrs. Cerna, Katz, and

Mazzara, and claim that they “are still in the dark about the Government’s efforts to facilitate

Abrego Garcia’s release from custody and return to the United States” because the deponents have

“disclaimed personal knowledge of the key areas of inquiry” and “identified a laundry list of

additional Government officials.” Mot. 1-2. This, they claim, justifies transforming the Court’s

permission to move for leave for two additional Rule 30(b)(1) depositions to permission to move

for three additional Rule 30(b)(6) depositions. Defendants have invoked threshold privilege issues

that are now before the Court, and, as a result, Plaintiffs intend to postpone deposing Mr. Kozak.

Id. at 3; ECF No. 115.



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                                          DISCUSSION

   I.      THE COURT SHOULD DENY PLAINTIFFS’ REQUEST FOR LEAVE TO
           TAKE 30(b)(6) DEPOSITIONS AS UNREASONABLE IN THE EXPEDITED
           DISCOVERY CONTEXT.

        Rule 30(b)(6) depositions are uniquely burdensome. See Virginia Dep’t of Corr. v. Jordan,

921 F.3d 180, 193 (4th Cir. 2019) (explaining that “the unique characteristics of Rule 30(b)(6)

depositions” often require “advanced preparation”); United States v. Taylor, 166 F.R.D. 356, 362

(M.D.N.C.) (“The Court understands that preparing for a Rule 30(b)(6) deposition can be

burdensome.”). Preparing a designee requires a party not merely to offer testimony on matters

within that individual’s personal knowledge, but to investigate the full scope of the entire

organization’s knowledge on designated topics and prepare the witness to speak authoritatively on

the entity’s behalf. Id.; see also Fed. R. Civ. P. 30(b)(6); Brazos River Auth. v. GE Ionics, Inc.,

469 F.3d 416, 433 (5th Cir. 2006). Courts have repeatedly recognized that preparing even one such

witness takes substantial time. See, e.g., Stephens v. City of Helen, 2023 WL 10325432, at *2 (N.D.

Ga. Apr. 24, 2023) (noticing a 30(b)(6) on March 24 provided insufficient time to prepare for a

March 31 deposition). Preparing three such witnesses, from separate Cabinet-level agencies,

during expedited discovery is impracticable.

        This is particularly true here, where Plaintiffs’ proposed deposition topics are expansive

and duplicate the written discovery they have already obtained from Defendants. Preparing three

Rule 30(b)(6) witnesses from separate Cabinet-level agencies to speak on all reasonably available

information would require coordination across multiple agency components, additional and

extensive document review, and careful attention to privilege issues—all of which is infeasible on

the compressed timeline Plaintiffs propose and unnecessary given the purpose and narrow scope

of discovery the Court has ordered. Preparing even a single Rule 30(b)(6) on such a timeline is

infeasible and contrary to the efficient, targeted discovery the Court authorized.
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       Moreover, Plaintiffs’ motion to notice a Rule 30(b)(6) deposition of the Department of

Justice exposes their overreaching tactics. DOJ acts as legal counsel in this litigation and deposing

opposing counsel is rarely permissible See Shelton v. Am. Motors Corp., 805 F.2d 1323, 1327 (8th

Cir. 1986) (limiting depositions of opposing counsel to circumstances when: “(1) no other means

exist to obtain the information . . . ; (2) the information sought is relevant and nonprivileged; and

(3) the information is crucial to the preparation of the case.”); Ulyssix Techs., Inc. v. Orbital

Network Eng’g, Inc., 2013 WL 12241621, at *1-2 (D. Md. Feb. 25, 2013) (considering the Shelton

factors, though noting that the Fourth Circuit has not “expressly adopted” them) Plaintiffs bear the

“burden to prove that the deposition [of counsel] is necessary” and overcome the “presumption . .

. against permitting the deposition” as a result of “the significant risks of implicating attorney-

client privilege and work-product.” Tech. Pats. LLC v. Deutsche Telekom AG, 2010 WL 11556702,

at *1 (D. Md. Mar. 29, 2010). “The standard” also requires that Plaintiffs exhaust other means of

obtaining the information before “deposing trial counsel.” Id. at *2. Plaintiffs offer no justification

for seeking testimony from the DOJ and have not met their burden to show that no other means

exists for them to obtain the information; the information is relevant and nonprivileged; and the

information is crucial to the preparation of the case.

       Discovery must also be proportional to the needs of the case. See Fed. R. Civ. P. 26(b)(1).

The Court has already allowed Plaintiffs to notice four depositions on one topic—“what . . .

Defendants have done to ‘facilitate Abrego Garcia’s release from custody in El Salvador.’” ECF

No. 79, 107. Allowing Plaintiffs to conduct three additional depositions would put Plaintiffs’ total

at seven depositions on one narrow issue. Plaintiffs’ request, however, is even more

disproportional than that because they do not request three additional Rule 30(b)(1) depositions

but Rule 30(b)(6) depositions. When one accounts for the unreasonable demand of preparing for



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three Rule 30(b)(6) depositions on an expedited timeline, it is clear that Plaintiffs’ request is neither

reasonable nor proportional to the needs of this case.

    II.      THE COURT SHOULD DENY PLAINTIFFS’ REQUEST FOR LEAVE TO
             ADDITIONAL DEPOSITIONS AS UNJUSTIFIED AND PREMATURE.

             A. Plaintiffs have mischaracterized the scope of the testimony provided in the
                depositions.

          Plaintiffs claim that of the three affiants who have been deposed, “[n]one has provided

useful information regarding the three primary areas of evidence that the Court highlighted in its

order: (1) the current physical location and custodial status of Abrego Garcia; (2) what steps, if

any, Defendants have taken to facilitate Abrego Garcia’s immediate return to the United States;

and (3) what additional steps Defendants will take, and when, to facilitate his return.” Mot. 3-4.

But the party deposing the witness dictates the course of the deposition by the strategic choices

she makes in determining which questions to ask. During each of the Mazzara, Katz, and Cerna

depositions, Plaintiffs failed to ask questions that fell within the reasonable scope of matters the

individuals might have knowledge of and instead insisted on asking questions about privileged

matters. Continuous questioning about matters Plaintiffs knew the deponents could not answer

needlessly stretched each deposition to 5-7 hours. Plaintiffs’ contention that prior deponents

“disclaim[] knowledge” (Mot. at 2, 6) mischaracterizes what occurred. In reality, Plaintiffs devoted

large portions of their questioning to areas the witnesses testified were outside their personal

knowledge and to privileged matters. Plaintiffs’ choice to spend hours on such unproductive lines

of inquiry—not any deficiency in the witnesses’ preparation—is why they failed to elicit the

information they now say is missing.

          In his deposition, Mr. Mazzara explained that he “supervise[s] attorneys, . . . provide[s]

legal advice to the Secretary and other individual [DHS] decisionmakers . . . . [He’s] not typically

a decisionmaker.” Mazzara Depo. 42:8-1. Plaintiffs, however, harried him with questions subject

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to the state-secrets and attorney-client privileges or entirely outside the scope of his duties such as

whether he knew “if anyone . . . within the Department of Homeland Security had called anyone

at the Embassy in El Salvador regarding Mr. Abrego Garcia’s custody in that country?” Id. 44:2-

5. If he knew “what the United States is paying to El Salvador in exchange for El Salvador

receiving these individuals from the U.S.?” Id. 188:3-6. And whether he was “aware of more than

one agreement between . . . El Salvador and the United States with respect . . . to El Salvador

detaining individuals from the United States?” Id. 178:16-19. While many of Plaintiffs’ attorney’s

questions concerned matters more appropriately directed to the Department of State, Mr. Mazzara

reiterated that the Department of Homeland Security is prepared to “facilitate [Mr. Abrego-

Garcia’s] presence” “when he comes into the port of entry.” Id. 111:11-22.

       During Mr. Katz’s deposition, Plaintiffs spent a significant amount of time focusing on the

drafting of a declaration to be submitted to the Court and what role attorneys played in drafting

the declaration. Katz Depo 62:4-8 (“but was there a discussion with counsel, either orally or in

writing, about putting in that sentence?”). Additionally, Plaintiffs spent significant time

questioning Mr. Katz on his understanding about the legal process of how an alien granted

withholding of removal could no longer be eligible for withholding of removal. Katz Depo 58:18-

22 (“What's the process for—if you want to take away someone’s withholding…”). By

comparison, Plaintiffs only asked limited questions about what Mr. Katz’s knowledge was about

the current physical location of Abrego Garcia. Katz Depo 97:9-13 (“Q: Do you have an

understanding of where in El Salvador Mr. Abrego Garcia is currently held? A: I do not.”). Mr.

Katz answered all Plaintiffs’ questions to the best of his knowledge, unless they called for the

disclosure of privileged information.




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       The deposition of Mr. Cerna was similarly noteworthy both for his responsiveness and

candor and for Plaintiffs’ pursuit of information beyond his knowledge or privileged material. Mr.

Cerna, an Acting Field Office Director of Immigration and Customs Enforcement (ICE), was

responsive to the extent of his knowledge and authority. He did not stonewall. He answered non-

privileged questions directly and candidly. Any gaps in knowledge were structural—he was not

the decisionmaker or responsible party for those subjects—not evasive. For example, he provided

clear and thorough answers when questions were within the scope of his knowledge and duties.

He answered affirmatively that ICE could retrieve detainees at contracted facilities (Cerna Dep.

141:1-8), and he described what steps he would take if tasked to return an individual back to the

United States (Cerna Dep. 144:14-18). Similarly, throughout his testimony, Mr. Cerna stated when

he did not know information (e.g., about the actions of governmental actors other than ICE or El

Salvador’s custody decisions) or when he was not involved in discussions or decision-making (see,

generally, Cerna Dep. 141-46, 181-83). He did not equivocate—he directly answered “No” or “I

don’t know” when asked whether he had knowledge of certain actions.

       At the same time, just as with Mr. Mazzara, Plaintiffs chased their tails in deposing Mr.

Cerna, seeking information of which he had no knowledge, information he could not have been

expected to know, or information that was otherwise privileged. Where Mr. Cerna could not

answer, it was almost universally due to instructions from counsel based on privilege, not

evasiveness or lack of cooperation. See, e.g., Cerna Dep. 79:13-16; 136:2-5. In fact, a review of

the record demonstrates that Mr. Cerna was responsive and consistent, despite Plaintiffs not being

disciplined or targeted in their questioning. For instance, Plaintiffs spent substantial time

repeatedly asking Mr. Cerna—again, an ICE employee at the Department of Homeland Security

based in Harlingen, Texas—about subjects plainly outside his responsibility or knowledge, such



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as DOJ and White House actions, DOJ parole initiation, and diplomatic discussions with El

Salvador (see Cerna Dep. 141-46, 181-83). Plaintiffs spent hours asking him misguided questions

even after Mr. Cerna already testified multiple times that he had no involvement or knowledge of

those areas. See, e.g., Cerna Dep. 141:20-22 (wherein Plaintiffs ask whether anyone was “blessing”

El Salvador’s continued custody of Mr. Abrego); 183:9-11 (asking about the White House’s steps

towards return); 185:1-5 (asking about DOJ’s steps towards return). Furthermore, many of

Plaintiffs’ questions openly invited rank speculation or were hypothetical. See, e.g., Cerna Dep.

144:2-7 (asking what steps he would take if a supervisor asked him to bring Mr. Abrego back). In

sum, Plaintiffs chose to pursue repeated and speculative questioning about privileged or plainly

irrelevant matters. Plaintiffs’ poor preparation and execution—not any deficiency attributable to

the witness—accounted for Plaintiffs’ failure to elicit testimony.

       Plaintiffs’ demand for additional depositions is not driven by any legitimate shortfall in

Defendants’ discovery responses or the candor of deponents, but by dissatisfaction with the

substantive answers they have received. That is not a valid basis for reopening or expanding

discovery. Plaintiffs have already received extensive discovery and conducted lengthy depositions.

Obtaining cumulative answers from new witnesses, particularly where prior witnesses have

already addressed the topics within their knowledge, does not justify the extraordinary relief they

now seek.

            B. Plaintiffs’ efforts to seek additional depositions are premature because they have
               not completed the first four depositions they noticed.

       Plaintiffs’ request for leave should be denied as premature. The Court in its April 15, 2025,

order permitted Plaintiffs to notice the depositions of Robert Cerna, Evan Katz, Michael Kozak,

and Joseph Mazzarra. ECF No. 79 at 7. In that same order, the Court further provided that Plaintiffs

could seek leave to depose two additional individuals. Id. But Plaintiffs’ request is premature

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because they have not yet deposed Mr. Kozak who may be able to answer question that Plaintiffs

claim the first three deponents could not. Mr. Kozak’s deposition is currently scheduled for May

9, 2025, but Plaintiffs stated that they intend to postpone it. Mot. 3. At minimum, this Court should

deny Plaintiffs’ request as premature until they have completed the four depositions they have

already noticed.

   III.      THE COURT SHOULD DENY PLAINTIFFS’ REQUEST FOR LEAVE TO
             TAKE RULE 30(b)(6) DEPOSITIONS FOR FAILURE TO COMPLY WITH
             THE LOCAL RULES AND THE COURT’S DISCOVERY ORDER.

             A. Plaintiffs’ Request Failed to Comply with the Requirement that the Parties Meet
                and Confer with Respect to Either the Number of Depositions or the Form of the
                Depositions.

          Plaintiffs’ request should be denied for failure to confer with Defendants as required under

the Local Rules. The Court’s Local Rules expressly require that:

                 Counsel shall confer with one another concerning a discovery
                 dispute and make a reasonable effort to resolve the differences
                 between them. The Court will not consider any discovery motion
                 unless the moving party has filed a certificate reciting (a) the date,
                 time, and place of the discovery conference, and the names of all
                 persons participating therein, or (b) counsel’s attempts to hold such
                 a conference without success; and (c) an itemization of the issues
                 requiring resolution by the Court. A “reasonable effort” means more
                 than sending an email or letter to the opposing party. It requires that
                 the parties meet in person or by video or telephonic means for a
                 reasonable period of time in a good faith effort to resolve the
                 disputed matter.

L.R. 104.7. Prior to moving for three Rule 30(b)(6) depositions, Plaintiffs did not confer with

Defendants regarding the requested depositions. During the past week, the parties have conferred

myriad times to discuss and resolve discovery issues, but Plaintiffs never mentioned a desire to

seek depositions beyond the Court’s enumerated limit, nor did they raise the prospect of seeking

Rule 30(b)(6) testimony. That is why Plaintiffs do not provide the required certificate of

conference, identifying when the conference was held, the topics discussed, and individuals


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involved. Per the Local Rules, in such a situation, “[t]he Court will not consider any discovery

motion” without such a certificate. L.R. 104.7 (emphasis added). The Court should deny the

request for leave until the parties confer to see if the issues presented here can be narrowed.

           B. Plaintiffs’ Request Exceeds the Limit on Additional Depositions and Departs from
              the Form of Deposition.

       Regardless, Plaintiffs’ request for leave to conduct three additional depositions should be

denied because it exceeds the Court’s enumerated limit on additional depositions. In the Court’s

most recent discovery order, Plaintiffs were permitted to move for leave to take “two additional

depositions of individuals . . . .” See ECF No. 107 at 2 (citing ECF No. 79). Plaintiffs concede as

much in their motion. Mot. at 2 (conceding the Court “permitted Plaintiffs to seek leave to take

two additional depositions.”). Plaintiffs, however, have elected to go beyond that number. The

Court should deny their motion.

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                                        CONCLUSION

       For these reasons, the Court should reject Plaintiffs’ requests to schedule three Rule

30(b)(6) depositions during expedited discovery.



                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on May 8, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


                                             /s/ Drew Ensign
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